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 1   John White, Esq.                                                 E-filed December 7, 2017
     Bar Number 1741
 2
     WHITE LAW CHARTERED
 3   335 West First St.
     Reno, NV, 89503
 4   775-322-8000
     775-322-1228 (Fax)
 5
     john@whitelawchartered.com
 6   Counsel to Official Committee of Unsecured Creditors

 7
                      UNITED STATES BANKRUPTCY COURT
 8                          DISTRICT OF NEVADA
 9
10    IN RE:
11                                              Case No: BK-N-17-50562-btb
      KONA GOLD, LLC                            Chapter 11
12
13                      Debtor.                 COMMITTEE’S RESPONSE TO
                                                MOTION TO DISMISS CASE
14
                                                Hearing Date: December 21, 2017
15                                              Hearing Time: 9:30 a.m.

16      COMES NOW THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS (“Com-
17   mittee”), by and through its counsel, White Law Chartered, who requests additional
18   time to respond to the US Trustee’s Motion to Dismiss Case. As is more specifically set
19   forth in the Declaration of Richard LaPrairie, filed separately herewith, it is not clear
20   to the Committee at this time whether a dismissal or conversion to Chapter 7 would
21   be in the best interests of creditors. The best interest of creditors may well be served
22   by a liquidating Plan and Disclosure Statement, either by a Chapter 11 Trustee or
23   this Committee. However, at this time, the Committee has not discovered assets that
24   would be necessary to fund further reorganization efforts.
25      Therefore, the Committee requests that the final hearing of US Trustee’s Motion be
26   continued for at least 30 and preferably 60 days, to give the Committee sufficient time
27   to make a firm recommendation to this Court concerning whether the Case should be
28   dismissed, converted, or have a Chapter 11 Trustee appointed.


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 1      In support of this Response, the Committee relies upon the Declaration of Richard
 2   LaPrairie, the Committee’s chairman, filed separately herewith, the below Points and
 3   authorities, and the files and records in this case.
 4      Dated this 6th day of December, 2017.               Submitted by:
 5                                                          WHITE LAW CHARTERED
 6
                                                               /s/ John White
 7
                                                            John White, Esq.
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 1                              POINTS AND AUTHORITIES
 2
        The Declaration of Richard LaPrairie, Chairman of the Unsecured Creditor’s Com-
 3
     mittee, filed separately herewith shows facts which may lead to assets which could be
 4
     used to pay the significant creditors in this case.
 5
        The claims register shows $1,067,166.46 total claims, of which $351,284.44 are
 6
     secured and $551,540.05 are priority. In addition, Schedule D in this chapter 11 case
 7
     shows another $2,000,000 or so in unsecured claims, being Debtor’s obligation to Jin
 8
     de Land.
 9
        11 USC § 1112(b) provides, in pertinent part:
10

11            1) Except as provided in paragraph (2) and subsection (c), on request of

12        a party in interest, and after notice and a hearing, the court shall convert

13        a case under this chapter to a case under chapter 7 or dismiss a case under

14        this chapter, whichever is in the best interests of creditors and the estate,

15        for cause unless the court determines that the appointment under section

16        1104(a) of a trustee or an examiner is in the best interests of creditors and

17        the estate.

18   The decision to dismiss or convert, or appoint a Chapter 11 Trustee is obviously fact
19   dependent.
20      The hearing on the US Trustee’s Motion to Dismiss is now set for December 21,
21   2017 at 9:30 a.m.
22      L.R. 9014(a) provides in pertinent part:
23
              (6) The judge may deem the first date set for the hearing to be a sta-
24
          tus and scheduling hearing if the judge determines that further evidence
25
          must be taken to resolve a material factual dispute or additional briefing
26
          is warranted. Live testimony will not be presented at the first date set for
27
          hearing, unless for good cause found by the court in advance of the hearing
28
          or otherwise so ordered. The judge may order a further hearing at which

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 1        oral evidence and exhibits will be received, or may, as appropriate, order
 2        that all evidence be presented by affidavit or declaration.
 3
     The Declaration of the Committee’s chairman, Richard LaPrairie, filed separately
 4
     herewith, clearly shows that further evidence must be taken to determine whether
 5
     the Case should be dismissed, converted, or whether a Chapter 11 Trustee should be
 6
     appointed.
 7
        Consent of the Movant is apparently necessary for the extension here requested.
 8
     See 11 U.S.C. § 1112(b)(3). In the event such consent is not forthcoming, the Commit-
 9
     tee recommends that the US Trustee’s motion be denied, without prejudice.
10
        Dated this 7th day of December, 2017.            Submitted by:
11
                                                         WHITE LAW CHARTERED
12
13                                                          /s/ John White
                                                         John White, Esq.
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 1                          CERTIFICATE OF SERVICE
 2
        On the date first set forth below, I served a true and correct copy of the COM-
 3   MITTEE’S RESPONSE TO MOTION TO DISMISS CASE by United States mail, first
     class postage fully prepaid to the persons as listed below:
 4
 5
 6        U.S. Trustee-RN-11                 Karen M. Ayarbe,
 7        300 Booth Street, STE 3009         Kern and Associates, Ltd.
          Reno, NV 89509-1362                5421 Kietzke Lane, Suite 200
 8                                           Reno, NV 89511
          J Craig Demetras
 9        230 E. Liberty St                  Official Committee of Unsecured Cred-
10        Reno, NV 89501-2211                itors
                                             1595 Ashbury Lane
11        Kona Gold                          Reno, NV 89523
          316 California Avenue #94
12        Reno, NV 89501                     Sally Targosh
13                                           Kozak Lusiani Law, LLC
          Seth J. Adams                      3100 Mill St, Ste 115
14        Woodburn & Wedge                   Reno, NV 89502
          PO Box 2311
15
          Reno, NV 89505                     James L. Morgan
16                                           4600 Kietzke Lane, Ste K228
          Jin De Land                        Reno, NV 89502
17        901 Corporate Center Drive #500
          Monterey Park, CA 91754-7666
18
     I declare under penalty of perjury that the foregoing is true and correct.
19
        Signed on December 7, 2017                       /s/Vonda Fischer
20
                                                       Vonda Fischer
21
22
23

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